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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                      Case Number: 21-20923-CIV-MARTINEZ-BECERRA

  AMBER MCGUIRE,

         Plaintiff,

  v.

  GREENSTAR LANDSCAPING, CO.,
  PETER MASI,

        Defendants.
  _________________________________/

                                 FINAL ORDER OF DISMISSAL

         THIS CAUSE came before the Court upon Plaintiff’s Second Corrected Notice of

  Voluntary Dismissal of Complaint. [ECF No. 25]. Plaintiff voluntarily dismisses Counts I, II, and

  III of the Complaint with prejudice, and Counts IV, V, and VI of the Complaint without prejudice.

  Id. Accordingly, it is ORDERED AND ADJUDGED that:

         1.      This case is DISMISSED. Counts I, II, and III of the Complaint are dismissed with

  prejudice. Counts IV, V, and VI of the Complaint are dismissed without prejudice.

         2.      Each party shall bear their own attorneys’ fees and costs.

         3.      All pending motions are DENIED AS MOOT.

         4.      This case is CLOSED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 24th day of August, 2021.


                                                       ____________________________________
                                                       JOSE E. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Becerra
  All Counsel of Record
